                             SCHEDULE 1

  TO DECLARATION OF JEFFREY AZUSE




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Debtors                                             Charles Coggins
                                                    Chaurishi Retail Enterprises, LLC
Refreshing USA, LLC                                 Chugit, LLC
Water Station Management LLC                        Coco Aqua, LLC
Creative Technologies LLC                           Cody Bishop
Ideal Property Investments LLC                      Colewstech, LLC
                                                    Culminate Water Technology, LLC
Debtors’ Insiders                                   Cyborg Holdings, LLC
                                                    Danielle Stoddard
Ryan Wear (Manager & Member)                        David Beranek
Richard Wear                                        David Brown
                                                    David Schroeder
Receiver                                            Debra Hildebrand
                                                    Deren Flesher DDS
Turning Pointe                                      Duane Okamoto
                                                    Dustin Braeger
Proposed Chief Restructuring Officer                Dylan Ross
                                                    Etania, LLC
Force Ten Partners (Brian Weiss)                    Ever Upward, Inc.
                                                    Facts Property Services, LLC
Creditors                                           Flatlands Equipment, LLC
352 Capital GP LLC                                  Gary Young
First Fed Bank                                      Granite Street Ventures, LLC
                                                    Grayfin Ventures, LLC
Snohomish County Superior Court                     Great Oak Water, Limited Liability
(Washington) Plaintiffs                             Company
210 SA Holding, LLC                                 Half Full Vending, LLC
Aashish Parekh                                      Heidi Young
Abbey Anderson                                      Helmut Giewat
Abby Wyatt Group, Inc.                              Horeb Water Solutions, LLC
Adria Estes                                         IMLSunshine, LLC
Adventure Done Right, LLC                           Indiana Water Technology, LLC
Aiden Waterworks, LLC                               Jacob Letourneau
Angel Franklin                                      James Estes
Anna Done                                           James Sartain
Aqualux Water LLC                                   James Vilt II
AR Water Supply, LLC                                James Walker DDS
Archan Tlkoti                                       Jason Blough
Arravend, LLC                                       JBF Consulting Services, LLC
Ash Vending, LLC                                    Jeannette White
Ashoka Sheanh                                       Jeffrey Brooke
Basant Kumar                                        Jeffrey Brooke
Be of Service, LLC                                  JK Seven LLC
Big Boy Tools LLC                                   JLE Enterprises, LLC
BLC Water Company LLC                               John Flack
Bo Yang                                             Josh McNary
Brad Burau DDS                                      Joshua Leykam
Brian Chu DDS                                       Joshua Oed
Brown Family Enterprises, LLC                       Karen Lavin
C&C Investment Holdings, LLC                        Karl Schoenleber


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Karla Letourneau                                  SDB H20, LLC
Karthiga Jayaram                                  Sean Done
Karthika Mandyam                                  Silver Oak H2O, LLC
Karthikeyan Ramprasath                            Siripi Wst, LLC
KDawg Crypto, LLC                                 Spruce Waters Investments, LLC
Kmandy Investments, L.L.C.                        Sreelakshmi Siripuram
Konda Reddy Gadi                                  Stacey Fleming
Kwansoo Lee DDS                                   Starter Holdings, LLC
Larina Chu                                        Stefani Hoery
Li Liang                                          Sterling Davis
Linda Okamoto                                     Steven Wells
Livingwater Station, LLC                          Sun A Wy, LLC
Maji 8377, LLC                                    Susan Pinkerton
Marc Hildebrand                                   Tan Quan Nguyen
Mark Fleming                                      Taylor Ross
Mathew Fellows                                    Thomas Wawersich
May Auerbach                                      Timothy Dailey
Merrill Stoddard                                  Tom Anderson
Michael Bailey                                    Trung Nguyen
Michele Blough                                    V2S2, LLC
Navaneeth Kumar                                   Venkita Sharma
Nira Enterprises, LLC                             Waterstation Technology of Rockville
Nirupa Keskar                                     William White
NS SQ Eco Waters, LLC                             WST Utah LLC
Oaks Waterstation Tech, LLC                       WST, LLC
OED Properties LLC                                WV Water Tech, LLC
Pacific Water Technology, LLC
Padma Kandikonda                                  Related Entities - Creative
Paige Leykam                                      Technologies, LLC
Pavan Kandikonda                                  Creative Technologies, LLC
Prasiti Water Investments, LLC                    Creative Technologies Florida, LLC
Pravin Thakkar Jr                                 Pistol, Inc.
Progressive Partners, LLC                         TCR Plumbing LLC
Q & V LLC
Radhika Kamalla                                   Related Entities - Refreshing USA,
Radhika Siripireddy                               LLC
RCWSTech1157, LLC                                 Arizona Water Vendors Inc.
RDWSTech3594, LLC                                 Arizona Vendors Inc.
Redwaters, LLC
                                                  Golden State Vending, LLC
Reginald Franklin
Robert Dost DDS                                   Ice & Water Vendors, LLC
Robert Hoery                                      Refreshing USA, LLC
Roman Jarosiewicz                                 Refreshing California, LLC
Ronald Cole DDS                                   Refreshing Carolines, LLC
Rose Trail Ventures 2, LLC                        Refreshing Colorado LLC
Rose Trail Ventures, LLC                          Refreshing Florida LLC
Royal Reservoirs, LLC                             Refreshing Georgia, LLC
Rumson Wellness, LLC                              Refreshing Great Lakes, LLC
Sarah Schroeder
                                                  Refreshing Mid-Atlantic, LLC
Scott Burau DDS
                                                  Refreshing Midwest, LLC

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Refreshing Midwest Real Estate, LLC             3209 Van Buren LLC
Refreshing Montana, LLC                         8825 LLC
Refreshing New Mexico, LLC                      044904\00001\17662588v1

Refreshing New England LLC
Refreshing Texas LLC                            20 Largest Unsecured Creditors –
Refreshing Oklahoma LLC                         Creative Technologies, LLC
Refreshing Washington, LLC                      First Fed Bank
Smart Soda Holdings, Inc.                       Keystone Water Holdings LLC
Summit Management Services, LLC                 Alkaline Water Holdings, LLC
Vendpro, LLC d/b/a EliteVend                    H20 Syation Holdings, LLC
                                                Arravend LLC
Related Entities - Water Station                Dennis Demirjian & DDWSTECH
Management LLC                                  LLC
Water Station Management, LLC                   Chugit LLC
WaterStation Finance Company, LLC               Granite Street Ventures, LLC
WaterStation Techventure, LLC                   Siripi WST LLC
WST Franchise Systems LLC                       SS Holdings, LLC
Water Station Holdings LLC                      WST, LLC
WaterStation Technology, LLC                    A&R Water Supply
WaterStation Technology II, LLC                 Pacific Water Technology, LLC
WST AZ Properties LLC                           352 Capital GP LLC
                                                Scott Runnels & Runnels Ortho
Related Entities - Ideal Property               Practice & Les Enterprises LLC
Investments LLC                                 Big Boy Tools LLC
Ideal 1400 Greenleaf LLC                        Prasiti Water Investments, LLC
Ideal Greenleaf LLC                             Ronald Cole (Sole Prop.) /
Ideal Murfreesboro LLC                          COLEWSTECHLLC
Ideal Industrial Park LLC                       Carol & Forrest Bryant & Jam Capital
Ideal AZ Property Investments, LLC              II, LLC
K-2 Acquisition, LLC                            Indiana Water Technology, LLC
Emery Development, LLC
Harrison Street, LLC                            20 Largest Unsecured Creditors –
Smokey Point Holding LLC                        Refreshing USA, LLC
Group LLC                                       McCarter and English
4300 Forest LLC                                 Dottir Attorneys
1206 Hewitt Ave LLC                             Brink’s Incorporated
70 NO Garden, LLC                               Colonial Life Insurance
3422 W Clarendon LLC                            Herald Holdings LLC
204 NWW LLC                                     Vendors Exchange International
701 Eden Ave LLC                                Miami-Dade Cty. DOT & Public
2129 Andrea Lane LLC                            Works
602 South Meadow LLC                            OptConnect
602 South Mean, LLC                             Landstar Global Logistics
11519 South Petropark LLC                       Vanguard Development Co.
343 Johnny Clark LLC                            Concur Technologies, Inc.
1118 Virginia Avenue LLC                        Tech 2 Success LLC
204 NWW LLC                                     Evoca North America Venture Inc.
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Oracle Netsuite
Mathand, Inc.
Direct Drive Logistics
Swire Coca-Cola
Lighthouse Transportation Svcs. LLC
Lee Cty. Port Authority
Gilly Vending

20 Largest Unsecured Creditors –
Waterstation Management LLC
Betson Imperial Parts and Service
C3 Capital Inc.
352 Capital GP LLC
Dalb Inc
Kroger Corp Account
SSM Vending
Ronald Dwyer
Town and Country Fence, Inc.
China Electronics
Circle K Franchise
Area Wide Electronics and
Refrigeration
ESP Water
Family Dollar
Pioneer Title Agency
Rochester Sensors
Terrible Herbst
Pork Shop
Chester Paul Company
County of Orange Sealer of Weights
and Measures
Datafast




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